     4:08-cr-03178-RGK-CRZ                            Doc # 250          Filed: 05/08/12               Page 1 of 1 - Page ID # 676


AO 247 (Rev. 11/11) Order Regarding Motion for Sentence Reduction Pursuant to 18 U.S.C. § 3582(c)(2)         Page 1 of 2 (Page 2 Not for Public Disclosure)


                                      UNITED STATES DISTRICT COURT
                                                                        for the
                                                   District of Nebraska
                                                    __________    District of __________

                    United States of America
                               v.                                          )
                      Î¿-¼¿²·»´ Û´·¶¿¸ Î±´´·»                              )
                                                                           )    Case No: ìæðèÝÎíïéèóî
                                                                           )    USM No: îîëðíóðìé
Date of Original Judgment:                             ðéñïêñîððç          )
Date of Previous Amended Judgment:                                         )    Ý´¿®»²½» Ûò Ó±½µ
(Use Date of Last Amended Judgment if Any)                                      Defendant’s Attorney


                  ORDER REGARDING MOTION FOR SENTENCE REDUCTION
                           PURSUANT TO 18 U.S.C. § 3582(c)(2)
        Upon motion of ì the defendant           the Director of the Bureau of Prisons       the court under 18 U.S.C.
§ 3582(c)(2) for a reduction in the term of imprisonment imposed based on a guideline sentencing range that has
subsequently been lowered and made retroactive by the United States Sentencing Commission pursuant to 28 U.S.C.
§ 994(u), and having considered such motion, and taking into account the policy statement set forth at USSG §1B1.10
and the sentencing factors set forth in 18 U.S.C. § 3553(a), to the extent that they are applicable,
IT IS ORDERED that the motion is:
              DENIED. ì GRANTED and the defendant’s previously imposed sentence of imprisonment (as reflected in
the last judgment issued) of ïêè                months is reduced to ïíë ³±²¬¸-                           .
                                             (Complete Parts I and II of Page 2 when motion is granted)



  Filings 247 and 248 are granted as provided herein.




Except as otherwise provided, all provisions of the judgment dated                          ðéñïêñîððç           shall remain in effect.
IT IS SO ORDERED.

Order Date:                  ðëñðèñîðïî                                                            -ñ Î·½¸¿®¼ Ùò Õ±°º
                                                                                                       Judge’s signature


Effective Date:              ðëñðèñîðïî                                        Î·½¸¿®¼ Ùò Õ±°ºô Í»²·±® Ë²·¬»¼ Í¬¿¬»- Ü·-¬®·½¬ Ö«¼¹»
                     (if different from order date)                                                Printed name and title
